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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                  CR 10-24-GF-BMM-1

                 Plaintiff,                 FINDINGS AND
                                            RECOMMENDATIONS TO
       vs.                                  REVOKE DEFENDANT’S
                                            SUPERVISED RELEASE
 RYAN SIDNEY JACKSON,

                 Defendant.


                                    I. Synopsis

      The United States accused Mr. Jackson of violating his conditions of

supervised release by (1) failing to appear for random urinalysis testing, (2) testing

positive for methamphetamine, (3) failing to make payments toward his restitution,

and (4) failing to appear for his transport to substance abuse treatment. He admitted

to the violations. Mr. Jackson’s supervised release should be revoked. He should

be sentenced to nine months in custody, with twenty-seven months of supervised

release to follow. His supervised release should be transferred to the District of

North Dakota, and he should receive credit for time served since his arrest there on

November 17, 2016.

                                     II. Status

      Mr. Jackson pleaded guilty to Arson within Special Maritime or Territorial
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Jurisdiction in July 2010. (Doc. 95.) United States District Judge Sam Haddon

sentenced him to forty-five months in custody, with sixty months of supervised

release to follow, and ordered him to pay $220,231.00 in restitution. (Doc. 105.)

He began his first term of supervised release in October 2013.

      United States District Judge Brian Morris revoked Mr. Jackson’s supervised

release in February 2014 because he quit his job, left his listed address without

informing his probation officer, used drugs and alcohol, and failed to call his

probation officer as directed. (Doc. 119.) Judge Morris sentenced him to five

months in custody, with fifty-five months of supervised release to follow. (Doc.

119.) He began his second term of supervised release in August 2014.

      Judge Morris revoked Mr. Jackson’s supervised release again in May 2015

because he consumed bath salts and methamphetamine on two occasions. Judge

Morris sentenced him to nine months in custody, with thirty-six months of

supervised release to follow. (Doc. 152.) He began his current term of supervised

release on February 19, 2016.

      First Petition

      The United States Probation Office filed a Petition for Warrant for Offender

Under Supervision on June 1, 2016, accusing Mr. Jackson of violating the

conditions of his supervised release by (1) failing to appear for random urinalysis

testing, (2) testing positive for methamphetamine, and (3) failing to make
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payments toward his restitution. (Doc. 183.) The Court conducted an initial

appearance and continued the revocation hearing to allow Mr. Jackson time to

demonstrate his willingness to adopt a substance-free lifestyle by completing drug

treatment at the Montana Chemical Dependency Center (MCDC). (Doc. 187.) Mr.

Jackson failed to appear for his transport to MCDC on July 12, 2016. (Doc. 195.)

      Second petition

      The Probation Office filed an updated petition asking the Court to revoke

Mr. Jackson’s supervised release on July 13, 2016. (Id.) The Probation Office

accused him of violating his conditions of supervised release by failing to appear

for his transport to substance abuse treatment in addition to the three violations

contained in the June 2016 petition. (Id.) Judge Morris issued a warrant for his

arrest on the same day. (Doc. 196.) Mr. Jackson was arrested in North Dakota on

November 17, 2016. (Doc. 217.)

      Initial appearance

      Mr. Jackson appeared before the undersigned on December 21, 2016, in

Great Falls, Montana. Federal Defender Evangelo Arvanetes accompanied him.

Assistant United States Attorney Jeffery Starnes represented the United States.

      Mr. Jackson said he had read the petition and understood the allegations. He

waived the preliminary hearing, and the parties consented to proceed with the

revocation hearing before the undersigned.
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      Revocation hearing

      Mr. Jackson admitted that he violated the conditions of his supervised

release. The violations are serious and warrant revocation of his supervised

release.

      Mr. Jackson’s violation grade is Grade C, his criminal history category is I,

and his underlying offense is a Class B felony. He could be incarcerated for up to

thirty-six months. He could be ordered to remain on supervised release for sixty

months, less any custody time imposed. The United States Sentencing Guidelines

call for three to nine months in custody.

      Mr. Arvanetes recommended a sentence above the guideline range with no

supervised release to follow. Mr. Starnes recommended a sentence of six months in

custody, with supervised release to follow in the District of North Dakota. Mr.

Jackson addressed the Court and stated that he is sober now and wants to be in

North Dakota with his family.

                                   III. Analysis

      Mr. Jackson’s supervised release should be revoked because he admitted

violating its conditions. He should be sentenced to nine months in custody, with

twenty-seven months of supervised release to follow. His supervised release should

be transferred to North Dakota, and he should receive credit for time served since

his arrest in there on November 17, 2016. This sentence would be sufficient given
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the serious violation of the Court’s trust, but it would not be greater than necessary.

                                  IV. Conclusion

      Mr. Jackson was advised that the above sentence would be recommended to

Judge Morris. The Court reminded him of his right to object to these Findings and

Recommendations within 14 days of their issuance. The undersigned explained

that Judge Morris would consider his objection, if it is filed within the allotted

time, before making a final determination on whether to revoke his supervised

release and what, if any, sanction to impose.

      The Court FINDS:

             Ryan Sidney Jackson violated his conditions of supervised release by
             (1) failing to appear for random urinalysis testing, (2) testing positive
             for methamphetamine, (3) failing to make payments toward his
             restitution, and (4) failing to appear for his transport to substance
             abuse treatment.

      The Court RECOMMENDS:

             The district court should enter the attached Judgment,
             revoking Mr. Jackson’s supervised release and
             committing him to the custody of the United States
             Bureau of Prisons for nine months, with twenty-seven
             months of supervised release to follow. His supervised
             release should be transferred to the District of North
             Dakota, and he should receive credit for time served
             since his arrest there on November 17, 2016.


        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT
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      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.

      Dated the 27th day of December 2016.
